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 5

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 7
                                       UNITED STATES DISTRICT COURT
 8
                                     EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA AND                        CASE NO. 1:17-CV-01757-LJO-SAB
     STATE OF CALIFORNIA, ex rel. THOMAS
11   TURNER,                                             JOINT NOTICE OF THE UNITED STATES AND
                                                         THE STATE OF CALIFORNIA THAT THEY ARE
12                                  Plaintiffs,          NOT INTERVENING AT THIS TIME

13                          v.
                                                                        FILED UNDER SEAL
14   DYNAMIC MEDICAL SYSTEMS LLC;
     JOERNS HEALTHCARE LLC; COVENANT
15   CARE CALIFORNIA LLC; MARINER
     HEALTH CARE MANAGEMENT
16   COMPANY; PLUM HEALTHCARE GROUP
     LLC; CAMBRIDGE HEALTHCARE
17   SERVICES, and INVACARE
     CORPORATION,
18                        Defendants.

19

20          In its last Order, dated March 20, 2019, the Court indicated that the United States and the State

21 (collectively, the “Government”) must make its intervention decision on or before September 4, 2019,

22 and that no further extensions of time would be granted. [Dkt. No. 13]. The Government’s

23 investigation has not been completed and, as such, the Government is not able to decide, as of the

24 Court’s deadline, whether to proceed with the action. Accordingly, the Government hereby notifies the

25 Court that it is not intervening at this time. However, the Government’s investigation will continue.

26          Although the Government is not intervening at this time, it respectfully refers the Court to 31

27 U.S.C. § 3730(b)(1), which allows the relator to maintain the action in the name of the United States;

28 providing, however, that the “action may be dismissed only if the court and the Attorney General give


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 1 written consent to the dismissal and their reasons for consenting.” Id. Similarly, the California False

 2 Claims Act provides that a qui tam action “may be dismissed only with the written consent of the court

 3 and the Attorney General or prosecuting authority of a political subdivision, or both, as appropriate

 4 under the allegations of the civil action, taking into account the bests interests of the parties involved and

 5 the public purposes behind this act.” Cal. Gov’t Code § 12652.

 6          The United States Court of Appeals for the Ninth Circuit has held that, notwithstanding the

 7 language of 31 U.S.C. § 3730(b)(1), the United States has the right only to a hearing when it objects to a

 8 settlement or dismissal of the action. U.S. ex rel. Green v. Northrop Corp., 59 F.3d 953, 959 (9th Cir.

 9 1995); U.S. ex rel. Killingsworth v. Northrop Corp., 25 F.3d 715, 723-25 (9th Cir. 1994). Therefore, the

10 Government requests that, should either the relator or the defendant propose that this action be

11 dismissed, settled, or otherwise discontinued, this Court provide the Government with notice and an

12 opportunity to be heard before ruling or granting its approval.

13          Furthermore, pursuant to 31 U.S.C. § 3730(c)(3), the Government requests that all pleadings

14 filed in this action be served upon the United States and the State; the Government also requests that

15 orders issued by the Court be sent to the Government’s counsel. The Government reserves its right to

16 order any deposition transcripts, to intervene in this action, for good cause, at a later date, and to seek

17 the dismissal of the relator’s action or claim. The Government also requests that it be served with all

18 notices of appeal.

19          Finally, the Government requests that the relator’s Complaint, Amended Complaint, this Notice,

20 and the attached proposed Order be unsealed. The Government requests that all other papers on file in
21 this action remain under seal because in discussing the content and extent of the Government’s

22 investigation, such papers are provided by law to the Court alone for the sole purpose of evaluating

23 whether the seal and time for making an election to intervene should be extended.

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 1        A proposed order accompanies this notice.

 2
     Dated: September 4, 2019                             McGREGOR W. SCOTT
 3                                                        United States Attorney
 4
                                                 By: /s/ VINCENTE A. TENNERELLI
 5                                                   VINCENTE A. TENNERELLI
                                                     Assistant United States Attorney
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     JOINT NOTICE OF NO DECISION                      3
          Case 1:17-cv-01757-NONE-SAB Document 16 Filed 09/04/19 Page 4 of 4

 1                                   CERTIFICATE OF SERVICE BY U.S. MAIL

 2
            The undersigned hereby certifies that he is a contractor working on behalf of the United States
 3
     Attorney’s Office for the Eastern District of California, and is a person of such age and discretion to be
 4
     competent to serve papers.
 5
            That on September 4, 2019, he served a copy of:
 6

 7      JOINT NOTICE OF THE UNITED STATES AND THE STATE OF CALIFORNIA THAT
                      THEY ARE NOT INTERVENING AT THIS TIME
 8

 9 by placing said copy in a postpaid envelope addressed to the person(s) hereinafter named, at the place(s)

10 and address(es) stated below, which is/are the last known address(es), and by depositing said envelope

11 and its contents in the United States Mail at Fresno, California.
   Addressee(s):
12
   Justin T. Berger (SBN 250346)
13 Adam Shapiro (SBN 267429)
   COTCHETT, PITRE & McCARTHY, LLP
14
   San Francisco Airport Office Center
15 840 Malcolm Road
   Burlingame, CA 94010
16 Telephone: (650) 697-6000
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17
   Attorneys for Relator
18

19 Jennifer Gregory
   Deputy Attorney General
20 California Department of Justice
   2329 Gateway Oaks Drive, Suite 200
21 Sacramento, CA 95833

22
     Attorneys for State of California
23

24

25                                                                /s/ Adrian Quintero-Villegas
                                                                  Adrian Quintero-Villegas
26

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      JOINT NOTICE OF NO DECISION                         4
